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                   IN THE UNITED STATES DISTRICT COURT,
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 MATTHEW ZETTLE,

 Plaintiff,                                               Case No. _________

 v.                                                       Calendar ______

 THE FAKHOURI FIRM, LLC, and                              JURY TRIAL DEMANDED
 ROBERT S. FAKHOURI, individually,

 Defendants.



                                          COMPLAINT

        Plaintiff, MATTHEW ZETTLE, by and through its undersigned counsel, states

as follows as his Complaint against Defendants, THE FAKHOURI FIRM, LLC, and ROBERT

S. FAKHOURI, individually (and hereinafter collectively as “DEFENDANTS”):

THE PARTIES

1.      Plaintiff, MATTHEW ZETTLE (“Mr. Zettle”), is an individual who presently resides in

the State of Michigan.

2.      Defendant, THE FAKHOURI FIRM, LLC (“TFF”), is an Illinois limited liability

company and a Chicago based law firm. At all relevant times, TFF was doing business, and

regularly and continuously transacting business in the State of Illinois and in this County,

including at its principal place of business located in Chicago, Illinois.

3.      Defendant, ROBERT S. FAKHOURI (“FAKHOURI”), is an individual. Upon

information and belief, FAKHOURI resides in this County. FAKHOURI is a licensed Illinois

attorney. At all relevant times, FAKHOURI was employed by, and/or acting for TFF.
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JURISDICTION AND VENUE

4.     Jurisdiction is proper pursuant to this Court’s diversity jurisdiction under 28 U.S.C,

section 1332, because the amount in controversy exceeds the sum or value of $75,000, exclusive

of interests and costs, and is between citizens of different States. Venue is proper in this District

pursuant to 28 U.S.C., section 1391(b)(1) and (2) because all, or substantially all, of the actions

or omissions occurred within this District and both Defendants reside within in this District.

BACKGROUND FACTS

5.     On or about December 4, 2014, Mr. Zettle suffered serious injuries after an elevator in

which he was riding was negligently allowed to plummet.

6.     As a result, on or about March 11, 2016, Mr. Zettle retained DEFENDANTS to represent

him in his personal injury action arising out of that December 2014 occurrence. That retention

was pursuant to a written retainer agreement signed by the parties.

7.     In connection with that retention, DEFENDANTS represented to Mr. Zettle that he had a

strong case, and that he could expect to receive a sizeable monetary sum by way of either

settlement, or by way of judgment after a trial.

8.     On November 30, 2016, DEFENDANTS filed a lawsuit in the Circuit Court of Cook

County on behalf of Mr. Zettle, Case No. 2016 L 011690 (hereinafter “the Lawsuit”).

9.     Thereafter, on or about February 22, 2017, DEFENDANTS filed an Amended Complaint

in the Lawsuit. That Amended Complaint consisted of five counts, and named four defendants.

10.    On March 27, 2017, because of the DEFENDANTS’ failures to appear in Court in

connection with the Lawsuit and to prosecute that action, the Court dismissed the Lawsuit for

want of prosecution.




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11.       On May 2, 2017, DEFENDANTS filed a Motion on behalf of Mr. Zettle in the Lawsuit to

Vacate the March 27, 2017 dismissal Order. DEFENDANTS did not notify Mr. Zettle of that

filing.

12.       On May 10, 2017, the Motion to Vacate was up before the Court in the Lawsuit, but

DEFENDANTS did not appear. Accordingly, the Motion to Vacate was stricken.

DEFENDANTS did not notify Mr. Zettle of that Order, or of the fact that they had failed to

appear.

13.       Approximately three months later, on August 4, 2017, DEFENDANTS filed another

Motion to Vacate the dismissal of the Lawsuit. DEFENDANTS did not notify Mr. Zettle of that

filing, or of the hearing date for which it was noticed.

14.       On August 17, 2017, the Court vacated the dismissal of the Lawsuit.

DEFENDANTS did not notify Mr. Zettle of that Order, or of the fact that a hearing was held on

that date.

15.       On September 25, 2017, the Court in the Lawsuit entered an Order that provided, inter

alia, that the case would be dismissed if DEFENDANTS did not appear in Court for the next

status hearing – after they failed to appear in Court on that date. DEFENDANTS did not notify

Mr. Zettle of that Order, or of the fact that a hearing was held on that date, or of the fact that they

had failed to appear in Court.

16.       On November 20, 2017, the Court in the Lawsuit entered an Order that provided, inter

alia, that DEFENDANTS were required to appear the next time the case was up for status

hearing, or that the case would be dismissed for want of prosecution. DEFENDANTS did not

notify Mr. Zettle of that Order, or of the fact that a hearing was held on that date, or of the fact

that they had failed to appear in Court.




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17.     On March 19, 2018, the Court in the Lawsuit again dismissed that case for want of

prosecution based upon DEFENDANTS’ failure to prosecute the case, for their repeated failures

to appear in Court, and for their failures to comply with discovery and Orders regarding the

same. DEFENDANTS did not notify Mr. Zettle of that Order, or of the fact that a hearing was

held on that date.

18.     On April 3, 2018, DEFENDANTS filed a Motion to Vacate that dismissal Order of

March 19, 2018. In that filing, DEFENDANTS acknowledged that they had not appeared in

Court on March 19, 2018, and further alleged that Mr. Zettle had a meritorious case against the

defendants in that action. DEFENDANTS did not notify Mr. Zettle of that filing, or of the fact

that a hearing had been noticed or scheduled on that motion.

19.     On April 11, 2018, the Court in the Lawsuit struck that Motion to Vacate after

DEFENDANTS failed to appear. DEFENDANTS did not notify Mr. Zettle of that Order, or of

the fact that a hearing had taken place on April 11, or that they had failed to appear in Court on

that date.

20.     On April 25, 2018, DEFENDANTS re-filed their previously filed April 3, 2018 Motion

to Vacate.

21.     On May 10, 2018, the Court in the Lawsuit entered an Order striking the Motion to

Vacate from the Court’s call. DEFENDANTS did not notify Mr. Zettle of that filing, or that they

had failed to appear in Court.

22.     On May 17, 2018, one of DEFENDANTS’ clerks contacted Mr. Zettle by way of e-mail,

requesting certain information from him regarding the Lawsuit. Nowhere in that communication

was it brought to Mr. Zettle’s attention that there were any problems or issues with respect to his

case, nor was it mentioned that the above-referenced Motion to Vacate motion practice was




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underway, nor was it mentioned that the Lawsuit had been dismissed. That May 17, 2018

communication appears to have been part of a calculated attempt to mislead Mr. Zettle.

23.     On May 21, 2018, DEFENDANTS filed a Petition to Vacate the Dismissal of the lawsuit

for want of prosecution, and noticed it for hearing on May 31, 2018. DEFENDANTS did not

notify Mr. Zettle of that filing, or of the hearing that had been noticed for May 31, 2018.

24.     On May 31, 2018, the Court in the Lawsuit entered an Order denying the Motion to

Vacate the dismissal of the Lawsuit, and made that a final and appealable Order.

DEFENDANTS did not notify Mr. Zettle of that Order, or of the fact that a hearing had been

held, or that is was a final and appealable Order, or that an appeal could be filed with respect to

that Order.

25.     Following the entry of that May 31, 2018 Order, DEFENDANTS intentionally avoided

communicating with Mr. Zettle, and refused to communicate with him or to respond to his

inquiries.

26.     In or about January 2019, Mr. Zettle was contacted by a bill collector from MedChex

who informed Mr. Zettle that he was no longer being represented by the DEFENDANTS. That

was Mr. Zettle’s first knowledge of that fact. This call from Medchex came despite the fact that

Mr. Zettle had engaged in e-mail communications with DEFENDANTS in or about November

and December of 2018 by way of sending them information.

27.     In any event, as a result of Mr. Zettle’s communication with MedChex, Mr. Zettle

attempted to contact FAKHOURI for a period of a couple weeks, without any response from

him.

28.     In or about late February 2019, Defendant FAKHOURI finally engaged in a telephone

conference with Mr. Zettle, and asked to meet with Mr. Zettle. FAKHOURI stated to Mr. Zettle




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that he wanted to “make things right” with Mr. Zettle. During that call, FAKHOURI further

claimed to Mr. Zettle that he had been inattentive to Mr. Zettle’s case for a reason that will not

be specified herein to avoid potential embarrassment to the DEFENDANTS – if in fact the

reason provided by FAKHOURI is true. However, based upon the fact that FAKHOURI was

regularly communicating with counsel for the defendants in the Lawsuit, and never raised the

reason he provided to Mr. Zettle to either defendants’ counsel in the Lawsuit or to the Court, it

appears that the reason provided by FAKHOURI to Mr. Zettle was false, and intentionally so.

That false reason was meant to elicit sympathy.

29.    After Mr. Zettle’s present counsel was retained and requested Mr. Zettle’s file from

DEFENDANTS, the DEFENDANTS repeatedly delayed and put off producing Mr. Zettle’s file.

DEFENDANTS finally produce that file on or about March 11, 2019.

LEGAL CLAIMS

                                              COUNT I

30.    Mr. Zettle incorporates by reference, and re-alleges as though fully set forth herein,

paragraph 1 through 29 above as paragraph 30 of Count I.

31.    As counsel for Mr. Zettle, DEFENDANTS owed Mr. Zettle a duty of care to, among

other things, advise and counsel him regarding the status of the Lawsuit, including but not

limited to, filings made by the parties, deadlines set by the Court, and Orders entered by the

Court; prosecute Mr. Zettle’s claims in the Lawsuit; comply with Orders entered by the Court in

the Lawsuit; respond to discovery requests in the Lawsuit, and Court Order with respect to the

same, to prosecute an appeal, if necessary and/or notify Mr. Zettle of the deadline for filing an

appeal; and to timely advise Mr. Zettle of developments in the case.




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32.     By way of their actions and failures to act as set forth above, DEFENDANTS breached

their professional duties and the applicable standard of care.

33.     As a direct and proximate result of DEFENDANTS’ breaches of their professional duties

and the applicable standard of care, Mr. Zettle has and will continue to suffer monetary damages

in an amount in excess of several hundred thousand dollars.

34.     But for DEFENDANTS’ breaches of their professional duties and the applicable standard

of care, Mr. Zettle would have either received a substantial settlement in the Lawsuit, or obtained

and collected a substantial verdict in the Lawsuit.

        WHEREFORE, Plaintiff, Matthew Zettle, by and through his undersigned counsel,

respectfully prays for the entry of judgment in its favor and against the Defendants, THE

FAKHOURI FIRM, LLC, and ROBERT S. FAKHOURI, on Count I of this Complaint, in an

amount in excess of $75,000 and to be more specifically proven at trial, for all interest to which

he is entitled to recover, for his costs, and for all such other and further relief as is appropriate

under the circumstances.


                                JURY TRIAL DEMANDED


                                                RESPECTFULLY SUBMITTED,


                                                By:/s/ Michael I. Leonard
                                                   Counsel for Plaintiff

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